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 1   KALCHEIM LAW GROUP, P.C.
 2   Mitch Kalcheim (SBN: 175846)
     725 S. Figueroa Street, Suite 1750
 3   Los Angeles, California 90017
 4   Telephone: 213-955-7142
     Facsimile:    310-461-1201
 5
 6   Attorneys for Plaintiff

 7
 8                             UNITED STATES DISTRICT COURT
 9
            CENTRAL DISTRICT OF CALIFORNIA, EASTERN DISTRICT
10
11   DANIELLE HUBMER, Individually and              Case No. 5:20-CV-01369
     on Behalf of All Others Similarly
12   Situated,                                      FIRST AMENDED CLASS CLASS
13                                                  ACTION COMPLAINT FOR:
                  Plaintiff,
14                                                    1. VIOLATION OF CIV. CODE
15         vs.                                           §1750, ET SEQ.
                                                      2. UNFAIR BUSINESS
16   WALMART, INC.;                                      PRACTICES IN VIOLATION
17                                                       OF BUS. & PROF. CODE §
                  Defendants.                            17200, ET SEQ.
18                                                    3. UNLAWFUL BUSINESS
19                                                       PRACTICES IN VIOLATION
                                                         OF BUS. & PROF. CODE §
20                                                       17200, ET SEQ.
21                                                    4. BREACH OF CONTRACT
                                                      5. VIOLATION OF CIV. CODE
22                                                       §1723
23
24         Plaintiff Danielle Hubmer (“Plaintiff Hubmer” or “Ms. Hubmer”), Plaintiff
25   Kelly Schwalbach (“Plaintiff Schwalbach” or “Ms. Schwalbach”) and Plaintiff Angela
26   O’Brien (Plaintiff O’Brien” or Ms. O’Brien and together with Plaintiff Hubmer and
27   Plaintiff Schwalbach “Plaintiffs”) each bring this action individually and in order to
28   represent a class of persons defined below against Walmart, Inc. (“Walmart” or the

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 1   “Defendant”) and Does 1-100 (collectively “Defendant”), pursuant to their
 2   investigation, upon knowledge as to themselves and their own acts and otherwise
 3   upon information and belief.
 4
 5                                   FACTUAL BACKGROUND
 6          1.     COVID-19, is a global pandemic that needs no introduction. The virus
 7   spreads like a wildfire with complete indifference for the damage it causes. To date
 8   over 700,000 Californians have been infected, tens of thousands have lost their lives.
 9          2.     In an effort to slow the virus’ spread and protect the capacity of local
10   health systems, beginning in or about March 2020, California state and local
11   governments began issuing “stay-at-home” orders that confine residents to their
12   homes, allowing them to leave only for necessities such as food, clothing and other
13   essential items.
14          3.     As a result, the California economy is in tatters, the unemployment rate is
15   presently at or about 15% and millions of Californians find themselves jobless and
16   wondering how they will pay for food and other basic essentials for themselves and
17   their families.
18          4.     About 1/3 of California’s total workforce, or more than 6 million unique
19   people, have applied for unemployment benefits since mid-March. 1
20          5.     Indeed, a large percentage of California residents (such as Plaintiff
21   Schwalbach) have already had to resort to paying for basic necessities on credit cards
22   which they cannot afford to pay off each month and thus are required to pay
23   substantial interest on debt balances.
24          6.     Against this backdrop Walmart, the nation’s largest brick and mortar
25   retailer, with revenue of over $300 billion in 2020 alone, has chosen to surreptitiously
26   amend its return policy for nearly all of the items it sells. Specifically, Walmart’s has
27   1
      According to the “California Policy Lab” an institution which pairs trusted experts from the
     University of California with policymakers to solve our most urgent social problems, including
28   homelessness, poverty, crime, and education inequality.
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 1   secretly implemented a COVID-19 temporary return policy which deprives California
 2   consumers the ability to return unwanted or unneeded items which they purchased in
 3   Walmart stores during the pandemic.
 4         7.      All the while however, Walmart store personnel are actively encouraging
 5   shoppers to buy multiple items and “return what they don’t want or need.” For
 6   example, because Walmart has opted not to open the fitting rooms in its stores
 7   Walmart personnel encourage shoppers to purchase the same clothing item in multiple
 8   sizes and “return the items that don’t fit.”
 9         8.      Walmart has also embarked on a media and marketing bonanza touting
10   its efforts to assist those in need and claiming that it “is doing everything [it] can to
11   help strengthen our community of families, friends and associates.” See Walmart
12   webpage at www.corporate.walmart.com.
13         9.      Likewise, Walmart CEO Doug McMillion has stated on television that a
14   priority at Walmart during this pandemic is to “serve customers” and “help people.”
15   CNBC interview May 2020.
16         10.     So not surprisingly, for Walmart, business has never been better. Indeed,
17   Walmart’s second quarter 2020 results beat many analysts estimates by 20% or more.
18   Indeed, according to a CNBC report dated August 20, 2020, Walmart’s 2020 numbers
19   were its biggest positive earnings surprise in 31 years. Same store sales climbed
20   9.3%, and recently Walmart shares reached an all-time high of $151.33. For all
21   intents and purposes business is booming at Walmart, and in all Walmart stores in
22   California.
23         11.     Despite this incredible success Walmart refuses to recognize the impact
24   COVID-19 has had on the vast majority of its California customers which are all far
25   more vulnerable in the current social and economic climate.
26         12.     Unfortunately, for Plaintiffs and the Class members Walmart in an effort
27   to further increase its profits has sought to shift as much of the burden of this
28   extraordinary crisis onto its customers for as long as possible.

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 1         13.    Specifically, Walmart has ignored its contractual obligations and
 2   California Law and refused to refund Plaintiffs and similarly situated California
 3   consumers who made in-store purchases and sought to return in-store purchases.
 4         14.    Walmart instead has resorted to purportedly offering returns at some
 5   future unknown date (and even that policy is unclear). Unfortunately, for many
 6   members of the Class having hundreds or even tens of dollars “tied- up” in Walmart
 7   inventory that they do not want, or need is not financially tolerable. Plaintiffs and
 8   California consumers need money now.
 9         15.    Plaintiffs therefore bring this class action to obtain corrective disclosures,
10   restitution and other equitable relief and statutory and compensatory damages against
11   Defendant Walmart who has unilaterally and without adequate disclosure imposed an
12   unfair and unlawful return policy upon California consumers.
13                         SUMMARY OF PLAINTIFFS’ CLAIMS
14         16.    California law requires that any retailers who have a policy of not
15   providing a cash refund, credit or exchange when an item is returned with proof of
16   purchase within 7 days of purchase must inform consumers about their refund policies
17   by conspicuously placing a written notice about their policies, in language that
18   consumers can understand, so that it can be easily seen and read. Some retailers may
19   limit exchanges or returns for credit or refunds on all, or some products. Some may
20   not allow exchanges or returns for credit or refunds at all. But whatever the limitation,
21   it must be conspicuously disclosed. This conspicuous disclosure requirement is clearly
22   codified in Civ. Code § 1723, which states the following:
23         "(a)Every retail seller which sells goods to the public in this state that has a
24         policy as to any of those goods of not giving full cash or credit refunds, or of
25         not allowing equal exchanges, or any combination thereof, for at least seven
26         days following purchase of the goods if they are returned and proof of their
27         purchase is presented, shall conspicuously display that policy either on signs
28         posted at each cash register and sales counter, at each public entrance, on tags

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 1         attached to each item sold under that policy, or on the retail seller's order forms,
 2         if any. This display shall state the store's policy, including, but not limited to,
 3         whether cash refund, store credit, or exchanges will be given for the full amount
 4         of the purchase price; the applicable time period; the types of merchandise
 5         which are covered by the policy; and any other conditions which govern the
 6         refund, credit, or exchange of merchandise."
 7         17.    However, during the alleged Class period Walmart had no signs or
 8   displays regarding its temporary COVID-19 return policy, nor were any of the named
 9   Plaintiffs ever told about a temporary COVID-19 return policy prior to making their
10   purchases.
11         18.    During the summer of 2020, civil volunteer inspectors went to numerous
12   Walmart locations within California to examine Walmart stores and inspect the
13   merchandise within the stores, looking for any disclosures relating to Walmart’s
14   purported temporary COVID-19 return policy in accordance with the conspicuous
15   disclosure requirements of Civ. Code § 1723. Just like the Plaintiffs, the volunteers
16   found no such signage -- because no such signage existed.
17         19.    Since Walmart did not provide conspicuous disclosure of the limitations
18   of its temporary COVID-19 refund/return policy, said policy violates the requirements
19   of Civ. Code § 1723. Consequently, Walmart’s purported temporary COVID-19
20   policy is void and cannot be enforced against the Plaintiffs and Class members.
21         20.    Had Walmart complied with the requirements of Civ. Code § 1723 and
22   properly notified Plaintiffs, prior to the purchase transaction, about the limitations of
23   the store's temporary COVID -19 no return/no refund policy and disclosed that the
24   merchandise could not be returned or refunded, Plaintiffs would not have purchased
25   the Merchandise. Indeed, Plaintiffs would likely have purchased the exact same or
26   substantively identical items at one of Walmart’s competitors such as Target
27   Corporation or Kohl’s Corporation all of whom are presently accepting returns and are
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 1   better serving their customers needs during this pandemic. See Internet Complaints
 2   attached hereto and incorporated by reference.
 3          21.   Plaintiffs assert claims for: (a) violation of the California Consumers
 4   Legal Remedies Act (the “CLRA”, Cal. Civ. Code §1750 et seq.; (b) violation of
 5   California’s unfair competition law, Cal. Bus. & Prof. Code §17200 et seq.; (c)
 6   violation of Cal. Civ. Code §1723; and (d) Breach of Contract.
 7          22.   Plaintiffs seek to represent a class (the “Class”) consisting of: all
 8   California residents who (1) purchased an item from Defendant during the period from
 9   February 1, 2020 through the date a class is certified in this action (the “Class
10   Period”); and (2) were denied a return pursuant to Walmart’s temporary COVID 19
11   return policy. Walmart its corporate parents, subsidiaries, officers and directors are
12   excluded from the Class.
13                               JURISDICTION AND VENUE
14          23.   This action is brought by Plaintiffs as a class action pursuant to Fed. R.
15   Civ. P. 23 and California Civil Code §1781
16          24.   This Court has subject matter jurisdiction of this action pursuant to 28
17   U.S.C. § 1332(d)(2), the Class Action Fairness Act of 2005, because: (i) there are 100
18   or more Class members, (ii) there is an aggregate amount in controversy exceeding
19   $5,000,000, exclusive of interest and costs, and (iii) there is minimal diversity because
20   at least one plaintiff and one defendant are citizens of different States. This Court has
21   supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
22          25.   Venue is proper in this District as the acts upon which this action is based
23   occurred in large part in this District. Plaintiffs reside and/or work in this District, and
24   Defendant received substantial compensation and profits from entering into
25   agreements and/or the sale of its products or services to persons located in this
26   District, caused misrepresentations to be disseminated, entered into transactions
27   and/or provided services in this District. Defendant’s liability arose in part in this
28   District.

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 1                                          PARTIES
 2         26.    Plaintiff Hubmer is a resident of California. On or about April 25, 2020,
 3   Ms. Hubmer purchased clothes, exercise equipment, and personal electric items from
 4   Walmart in Temecula California. On or about April 27, 2020, Plaintiff Hubmer
 5   attempted to return numerous items including, but not limited, to certain items of
 6   clothing, certain exercise equipment and certain personal electronics items pursuant to
 7   Walmart’s longstanding return policy. Walmart managers at the store in Temecula
 8   refused to accept any of Ms. Hubmer’s item for in-store return and explicitly stated to
 9   Ms. Hubmer Walmart was not accepting returns due to COVID-19.
10         27.    Plaintiff Schwalbach is a resident of California. In June 2020, Ms.
11   Schwalbach purchased clothes, from Walmart in Upland, California. Ms. Schwalbach
12   purchased these items using a Sam’s Club credit card. In June 2020, Plaintiff
13   Schwalbach attempted to return numerous clothing items pursuant to Walmart’s
14   longstanding return policy. Walmart managers at the store in Upland refused to
15   accept any of Ms. Schwalbach’s items for in-store return and explicitly stated to Ms.
16   Schwalbach Walmart was not accepting returns due COVID-19. Ms. Schwalbach has
17   been unable to pay-off the balance on the credit card and is now forced to pay interest
18   on the items she sought to return.
19         28.    Plaintiff O’Brien is a resident of California. In at least April, and May
20   2020, Ms. O’Brien purchased clothes and other items from Walmart locations in San
21   Jacinto and Murrieta California. In May 2020, Plaintiff O’Brien attempted to return
22   numerous items pursuant to Walmart’s longstanding 90-day return policy. Walmart
23   managers at the store in both locations refused to accept any of Ms. O’Brien’s items
24   for in-store return and explicitly stated to Ms. O’Brien Walmart was not accepting
25   returns due to the COVID-19 virus.
26         29.    Walmart is the nation’s largest brick and mortar retailer. Defendant
27   regularly conducts business in the State of California, including, but not limited to
28   extensive advertising, sales and marketing in the State of California. Additionally,

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 1   Defendant receives extensive business from residents of California that substantially
 2   affects the stream of commerce in the State of California. 2020 year to date Walmart
 3   has amassed nearly $300 billion in revenue.
 4                      PLAINTIFF DANIELLE HUBMER’S FACTS
 5         30.    Plaintiff Hubmer is a resident of Riverside County, California and is a
 6   member of the Class alleged herein.
 7         31.    On April 25, 2020, Plaintiff Hubmer went to Defendant’s store located in
 8   Temecula, CA to purchase various items for her personal use and consumption.
 9         32.    Plaintiff Hubmer purchased an assortment of personal items, including
10   but not limited to, clothing, a personal fan, and a yoga ball. The total purchase was
11   $151.99. Attached hereto to the Declaration of Danielle Hubmer and incorporated by
12   reference is a true and correct copy of Plaintiff Hubmer’s cash register receipt.
13         33.    Two days later Plaintiff Hubmer returned to Defendant’s store to return
14   certain clothing items, one personal fan and the yoga ball. Defendant refused to
15   accept any items for return. Defendant’s manager at the Temecula store denied the
16   return claiming a new COVID-19 return policy was in effect. This was the first time
17   Ms. Hubmer became aware of any purported temporary return policy. Further the
18   manager stated that the items would never be able to be returned.
19         34.    At the time Plaintiff made her purchase the fitting rooms were closed,
20   and she was unable to try on any of her purchases at the store.
21         35.    Plaintiff was well aware of Walmart’s long-standing return policy
22   allowing returns within 90 days of purchase. Plaintiff was completely unaware of any
23   temporary return policy.
24         36.    No signage regarding a change in return policy existed at the store
25   entrance or the within the store.
26         37.    None of the items which Plaintiff Hubmer purchased revealed any notice
27   of a temporary return policy.
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 1         38.    Plaintiff Hubmer made her purchase in good faith believing that she
 2   could return any or all of the items if she so desired within 90 days from the date of
 3   purchase.
 4                    PLAINTIFF KELLY SCHWALBACH’S FACTS
 5         39.    For the past few years Plaintiff Schwalbach has been a regular shopper at
 6   Walmart. Ms. Schwalbach regular utilizes a Sam’s Club credit card to make her
 7   Walmart purchases.
 8         40.    On or about June 24, 2020, Plaintiff went to Defendant’s store located in
 9   Upland, CA to purchase various items for her personal use and consumption. Attached
10   hereto to the Declaration of Kelly Schwalbach and incorporated by reference is a true
11   and correct copy of Plaintiff Schwalbach’s cash register receipt.
12         41.    Plaintiff purchased an assortment of personal items. Plaintiff purchased
13   the items using her Sam’s Club Credit card.
14         42.    A few days later Plaintiff returned to Defendant’s store to return certain
15   clothing items. Defendant refused to accept any of the items for return.
16         43.    Plaintiff Schwalbach informed store personnel that if she was not allowed
17   to return the items she would be forced to pay interest from the credit card charges as
18   she could not afford to pay the entire balance.
19         44.    At the time Plaintiff made her purchase the fitting rooms were closed,
20   and she was unable to try on any of her purchase at the store. Further, Plaintiff was
21   informed by store personnel that any items she purchased were available for return.
22         45.    Plaintiff was well aware of Walmart’s long-standing return policy
23   allowing returns within 90 days of purchase.
24         46.    No signage regarding a change in return policy existed at the store
25   entrance or within the within the store.
26         47.    Plaintiff made her purchase in good faith believing that she could return
27   the items if she so desired.
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 1         48.    Defendant’s store associate denied the return but would not provide a
 2   specific reason other than it was now the “policy.”
 3                             PLAINTIFF ANGELA O’BRIEN
 4         49.    For the past few years Plaintiff O’Brien has been a regular shopper at
 5   Walmart.
 6         50.    In or about April and May 2020, Plaintiff went on numerous occasions to
 7   Defendant’s stores located in Murrieta and San Jacinto, CA to purchase various items
 8   for her personal use and consumption. Attached hereto to the Declaration of Angela
 9   O’Brien and incorporated by reference are a true and correct copies of some of
10   Plaintiff O’Brien’s cash register receipts. However Plaintiff O’Brien discarded
11   others because she was told that the items were NOT returnable.
12         51.    In May 2020, Plaintiff returned to Defendant’s stores to return certain
13   items. Defendant refused to accept the return.
14         52.    At the time Plaintiff made her purchase the fitting rooms were closed and
15   she was unable to try on any of her purchase at the store. Further, Plaintiff was
16   informed by store personnel that any items she purchased were available for return.
17         53.    Plaintiff was well aware of Walmart’s long-standing return policy which
18   allowed returns within 90 days of the date of purchase.
19         54.    No signage regarding a change in return policy existed at the store
20   entrance or within the within the store.
21         55.    Plaintiff made her purchase in good faith believing that she could return
22   the items if she so desired.
23         56.    Defendant’s store personnel denied the return and stated it was “new
24   policy.”
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 1               THE COMMON FACTS AND CIRCUMSTANCES THAT
 2    ESTABLISH THE CLAIMS OF PLAINTIFFS AND ALL CLASS MEMBERS
 3                A. Plaintiffs’ Purchases
 4         57.    Plaintiffs Hubmer, Schwalbach and O’Brien, like many California
 5   consumers, purchased items at Walmart, because each believed that the items offered
 6   good value for the money, and if needed, Walmart would accept the items for return
 7   pursuant to its longstanding return policy -- 90 days from the date of purchase.
 8         58.    As is true of most Class members, Plaintiffs based their purchase
 9   decisions primarily upon the price and Walmart’s well-advertised liberal return policy.
10         59.    However, at some point during the COVID-19 pandemic Walmart
11   surreptitiously changed its longstanding liberal return policy on at least the majority, if
12   not all, of the items it sells to the California consuming public. Walmart did not post
13   adequate signage in its stores disclosing a change in return policy. Furthermore,
14   Walmart personnel did not apply the purported temporary policy correctly and instead
15   has denied returns on nearly all items.
16         60.    During the Class period Walmart provided absolutely no training to its
17   employees regarding a temporary return policy. Walmart corporate officers never
18   issued a suitable directive to stores in California that it must comply with Cal. Civil
19   Code § 1723.
20         61.    Walmart corporate officers failed to inspect and or monitor stores in
21   California to ensure adequate signage was in place to inform California consumers of
22   the temporary COVID-19 return policy.
23         62.    Instead store personnel during the entire Class period continued to
24   represent to consumers that Walmart will fully refund all purchases.
25         63.    Specifically, instead, of allowing in-store returns of products with 90
26   days of the date of purchase, as it has done for years, Walmart without proper
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 1   disclosure halted in-store returns of most, if not all, of the items it sells to California
 2   consumers.2
 3          64.    Indeed, the employees who work at Defendant’s store locations typically
 4   have zero training regarding Defendant’s temporary return policy. Thus, California
 5   consumers are being told a wide array of misinformation regarding Defendant’s
 6   temporary return policies.
 7          65.    Hundreds if not thousands of internet complaints exist detailing the fact
 8   that no signs are posted within the stores or at the Cash registers and also recount
 9   stories consumers are told to justify the denial of returns. For example, one
10   consumer writes, “They tried to tell me it was Federal Criteria, BS.” See attached
11   Internet Complaints which are incorporated by reference.
12          66.    The lack of proper information or straight out misinformation
13   disseminated by Defendant’s employees and given to consumers is widespread and
14   pervasive. See attached Internet Complaints which are incorporated by reference.
15          67.    Defendant’s unlawful, inequitable and unfair practice of arbitrarily
16   denying in store returns on many, if not all of the items it sells continues to this day.
17          68.    These abuses constitute precisely the type of inequitable misconduct that
18   the CLRA and the UCL are designed to prevent and punish. Accordingly, Plaintiffs
19   and the members of the Class are entitled to equitable and legal relief designed:
20          a)     to prevent Defendant from misleading consumers and profiting from the
21          unlawful conduct that Plaintiffs allege;
22          b)     to require Defendant to disgorge the excess revenue that it obtained from
23          Class members through its misconduct; and
24          c)     to compensate Plaintiffs and the members of the Class for the injuries
25          they have suffered as a result Walmart’s unlawful conduct.
26
     2
       Walmart admits having stopped processing returns of: food, paper goods, home cleaning supplies,
27   laundry soap, pharmacy, health& beauty and apparel. However as demonstrated throughout this
     Complaint Walmart personnel are refusing to accept returns on other items as well. For example,
28   Plaintiff Hubmer sought to return personal electronics and exercise equipment and was denied the
     ability to return these items.
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 1          69.    Class Members purchased basic essential items including, clothing and
 2   other personal items at Walmart during the Class period. The exact items are for the
 3   most part immaterial to the issues presented by this litigation.
 4          70.    California Consumers, like Plaintiffs, during the COVID-19 pandemic
 5   flocked to Walmart because of its low prices and liberal return policy. Indeed, as
 6   described above business has never been better at Walmart.
 7          71.    Walmart, however, surreptitiously changed its longstanding liberal return
 8   policy on at least the majority, if not all, of the items it sells to the California
 9   consuming public without providing proper notice pursuant to Cal. Civ. Code § 1723.
10   Specifically, Walmart did not post adequate signage in its stores disclosing a change
11   in return policy, nor did Walmart label the products or make any other efforts
12   whatsoever to actually notify California consumers of a change in policy.
13          72.    By, failing to properly notify California consumers of a change in its
14   return policy Walmart has misled consumers regarding the terms of sale and the
15   contractual obligations associated with the sales of each product. In particular,
16   Walmart repeatedly assured California consumers that they would be able to return
17   items at a time and place when in fact consumers could not.
18          73.    In addition, Walmart has unjustly enriched itself at the expense of Class
19   members by means of their unlawful conduct. Walmart has generated sales that never
20   would have occurred at the prices that prevailed during the Class Period, if at all, had
21   Walmart informed consumers of a change in return policy.
22          74.    For example, all three named Plaintiffs purchased redundant items, at the
23   behest of store personnel based on the fact that returns would be accepted.
24          75.    Specifically, Plaintiff, Hubmer bought the same items in multiple sizes
25   because the fitting rooms were not open. Likewise, Plaintiffs Schwalbach and
26   O’Brien purchased numerous items believing that they could return the items that did
27   not fit or look good.
28

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 1         76.    Walmart’s misleading conduct also caused Class members to discard
 2   receipts and other proof of purchase documentation because Walmart store personnel
 3   informs consumers that the items will NEVER be eligible for return.
 4
                 B.   Walmart’s Misleading Representations and Failure to
                    Adequately Disclose Its Return Policy
 5
           77.    Walmart is the largest brick and mortar retailer in the United States.
 6
           78.    Walmart endeavors to enhance its sales through a wide variety of
 7
     advertising that they place within their stores, various media, including television
 8
     radio, magazines, newspapers, their websites and other websites.
 9
           79.    In those advertisements, Walmart has continually made positive
10
     representations regarding the low prices and high service it will provide. For
11
     example, in a recent television commercial Walmart claims that while a lot of things
12
     have changed, one thing hasn’t its dedication to you and its communities.” Another
13
     commercial touts that we at Walmart we “have your back.” Another reiterates
14
     Walmart’s slogan “Save Money, Live Better.” And another promotes Walmart’s free
15
     two-day delivery. However not one advertisement discloses or mentions Walmart’s
16
     new temporary COVID return policy.
17
           80.    Indeed, not one television advertisement media advertisement, or print
18
     advertisement warns consumers of the new return policy. Likewise no signage exists
19
     within the stores. And no disclosures are on any sales tags, at cash registers or on the
20
     printed receipts.
21
           81.    Walmart’s failure to disclose in any meaningful way one of the key terms
22
     of its contract with consumers is unfair, unconscionable and unlawful.
23
           82.    In light of the quality and quantity of the representations that Walmart
24
     made to consumers regarding the terms of sale, Walmart was obligated to disclose the
25
     new return policy to consumers. At no time during the Class Period, however, did
26
     Walmart fulfill their responsibility to reveal those facts, which were highly material to
27
     consumers’ decisions to purchase at Walmart.
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 1         83.    Defendant’s false and misleading representations regarding the return
 2   policy were also undeniably material to Class Members’ decisions to purchase at
 3   Walmart in the first place. Had Walmart disclosed, as the new return policy, Plaintiffs
 4   and other Class Members would not have purchased items from Walmart at the prices
 5   that prevailed during the Class Period, if at all.
 6         84.    Defendant also affirmatively concealed its misleading, unlawful and
 7   fraudulent conduct through the representations that it caused their customer service
 8   representatives to make to consumers. Specifically, when consumers questioned why
 9   Walmart would not accept returns a wide assortment of justifications are given. For
10   example, “Federal law” is used as one justification and to “slow the spread” is used on
11   other occasions. Finally a “staffing issue” is another freuesnt excuse. But in all cases
12   these answers are only provided when consumers are attempting a return and no
13   information regarding the temporary return policy is given at the time of sale.
14         85.    In light of Defendant’s business strategy of selling merchandise to
15   consumers at “low low prices” while profiting greatly through the fact that it will not
16   allow returns, the entire business model utilized by Walmart during the COVID 19
17   pandemic is a fraud.
18         86.    Throughout the Class Period, Walmart has consistently lined their
19   pockets with consumers’ money, urging them to buy multiple items and bring back
20   what they don’t need while concealing from the same consumers that Walmart is
21   refusing to accept returns.
22                C. Walmart’s Successful Efforts To Unjustly Enrich Itself By
23                    Misleading Plaintiffs
24         87.    Defendant has victimized Plaintiffs, and unjustly enriched itself, by
25   engaging in the same misleading, unfair, deceptive and fraudulent conduct that
26   Walmart has directed at the other members of the Class.
27         88.    Plaintiff Hubmer purchased multiple items many of which were identical
28   in different sizes or more than ultimately needed. Ms. Hubmer would not have

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 1   purchased many of the items had it not been for the encouragement of Walmart
 2   personnel who advised that any items that were not ultimately needed were returnable.
 3         89.      Since the time, Hubmer purchased her articles she has tried to return the
 4   following items: clothing, a USB fan and a yoga ball. All of these items were
 5   rejected for return.
 6         90.      Plaintiff Schwalbach purchased multiple items many of which were
 7   redundant or more than ultimately needed. Ms. Schwalbach, a disabled woman on a
 8   fixed income, would not have purchased many of the items had it not been for the
 9   encouragement of Walmart personnel who advised that the items that were not
10   ultimately needed were returnable.
11         91.      Since the time, Ms. Schwalbach purchased her articles she has tried to
12   return the clothing and the items were rejected for return.
13         92.      Plaintiff O’Brien purchased multiple items of clothing many of which
14   were redundant or more than ultimately needed. Ms. O’Brien would not have
15   purchased many of the items had it not been for the encouragement of Walmart
16   personnel who advised that the items that were not ultimately needed were returnable.
17         93.      Since the time, Ms. O’Brien purchased her articles she has tried to return
18   the clothing and the items were rejected for return.
19                              CLASS ACTION ALLEGATIONS
20         94.      Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P.
21   23(b)(2) and 23(b)(3) and Cal. Civ. Code ' 1781 on behalf of the Class, as defined in
22   paragraph 2.
23         95.      The Class satisfies all of the requirements for class certification pursuant
24   to Fed. R. Civ. P. 23(a), 23(b)(2), 23(b)(3) and Cal. Civ. Code ' 1781.
25         96.      Numerosity: The Class is so numerous that joinder of all Class members
26   is impracticable. While Plaintiffs do not currently know the exact number of Class
27   members, Plaintiffs can identify Class members through the records that Defendants.
28   Based upon Walmart’s earnings and the hundreds of internet complaints which are

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 1   substantially similar to Plaintiffs’ claim Plaintiffs believe that there are thousands, if
 2   not tens of thousands, of Class members.
 3         97.       Commonality and Predominance: Numerous questions of law and fact
 4   common to the claims possessed by the members of the Class predominate over any
 5   individual questions presented by their claims. By proving their claims, Plaintiffs will
 6   prove essentially all of the elements of the claims that they are pursuing on behalf of
 7   the other members of the Class. The Court can adjudicate any individual issues
 8   presented by the claims Class members possess by utilizing case management
 9   techniques commonly employed in consumer class actions. The questions of law and
10   fact common to all Class members claims that predominate over any individual issues
11   those claims present include:
12                     a. Whether Defendant failed to properly disclose its new “COVID
13   19” return policy to consumers;
14                     b. Whether Defendant’s acceptance of purchases by consumers,
15   constituted contracts and whether Defendant’s log-standing return policy was part of
16   the contract;
17                     c. Whether Defendant breached those contracts by failing to properly
18   disclose the new “COVID 19” return policy;
19                     d. Whether Defendant maintained a corporate policy to impose the
20   new “COVID 19” return policy without prior disclosure;
21                     e. Whether Defendant devised and deployed a scheme or artifice to
22   defraud, or engaged in a common course of conduct which acted to defraud or deceive
23   Plaintiffs and members of the Class;
24                     f. Whether Defendant deliberately misrepresented or failed to
25   disclose material facts to Plaintiffs and Class Members regarding the new “COVID
26   19” return policy;
27                     g. Whether Defendant’s imposition of the new “COVID 19” return
28   policy without adequate notice is unlawful;

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 1                    h. Whether the acts of Defendant violated, inter alia, Business and
 2   Professions Code § 17200 and/or any other applicable state common and statutory
 3   law;
 4                    i. Whether Plaintiffs and the members of the Class have been
 5   damaged;
 6                    j. The proper method for calculating the damages suffered by
 7   Plaintiff and Class Members; and
 8                    k. Whether Plaintiffs and the members of the Class are entitled to
 9   injunctive relief.
10          98.    Plaintiffs will fairly and adequately protect the interests of all Class
11   Members. Plaintiffs’ claims are typical of the claims of the Class, they possess no
12   interests that are antagonistic to the interests of the other class Members, and they
13   have retained counsel experienced and competent in the prosecution of consumer
14   fraud class actions and similar types of complex litigation.
15          99.    Plaintiffs seek injunctive relief and monetary damages on behalf of the
16   entire Class because Defendant acted or refused to act on grounds generally applicable
17   to the entire Class.
18          100. A class action is superior to other available methods for the fair and
19   efficient adjudication of this controversy for at least the following reasons:
20                    a. Given the size of the claims of individual Class Members, few, if
21   any could afford to seek legal redress individually for the wrongs alleged herein;
22                    b. Once the liability of Defendant to Plaintiffs is established, the
23   Court and a jury can determine the claims of each member of the Class;
24                    c. This action will permit an orderly and expeditious administration
25   of the claims of Class Members, will foster economies of time, effort and expense and
26   will ensure uniformity of decisions; and
27                    d. Without a class action, Class Members will continue to suffer
28   damages, Defendant’s violations of law will proceed without remedy, and Defendant

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 1   will continue to reap and retain the substantial proceeds of its wrongful conduct.
 2   Plaintiffs and the Class have suffered damages as a result of Defendant’s unlawful and
 3   unfair conduct. This action presents no difficulties that will impede its management
 4   by the Court as a class action.
 5         101. Typicality: Plaintiffs’ claims are typical of the claims that other Class
 6   members possess because all Class members purchased merchandise during the Class
 7   Period and suffered injuries as a result of Defendant’s unlawful conduct. In particular,
 8   Defendant failed to adequately disclose a temporary return policy. Defendant has
 9   given no indication that it intends to alter or correct those misleading disclosures in
10   any manner. In addition, Walmart was unjustly enriched at the direct expense of Class
11   members when Walmart requires California consumers to keep items they do not want
12   or need. At best, Class members are financing Walmart’s multi-billion operation and
13   providing de facto interest free loans to Walmart. Plaintiffs’ claims are also typical of
14   those of the other members of the Class because all Class members’ claims are based
15   upon the same legal theories and require the same factual proof as the claims Plaintiffs
16   assert on their own behalf.
17         102. Adequacy: Plaintiffs will fairly and adequately protect the interests of
18   the members of the Class. Plaintiffs have retained counsel competent and experienced
19   in class action and consumer litigation, and Plaintiffs possess no interests antagonistic
20   to or in conflict with those of the other members of the Class. Plaintiffs will prosecute
21   this action diligently because they have suffered the same losses that other Class
22   members have sustained.
23         103. Superiority: A class action is superior to other available methods for the
24   fair and efficient adjudication of this controversy. Because there are thousands of
25   Class members and those persons are geographically dispersed, joinder of all Class
26   members is impracticable. Moreover, individual Class members are foreclosed from
27   prosecuting separate claims because the costs of pursuing this litigation on an
28   individual basis exceed the benefits that any Class member could expect to obtain by

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 1   means of the equitable or legal relief that Plaintiff s seek. Thus, all parties share a
 2   common interest in litigating all Class members’ claims in a single forum. The parties
 3   will not encounter any unusual difficulties in the management of this action on a class-
 4   wide basis.
 5           104. This case also satisfies all of the criteria for class certification pursuant to
 6   Fed. R. Civ. P. 23(b)(2).
 7           105. In particular, Walmart has acted and refrained from acting in a manner
 8   that applies generally to the Class. Walmart has failed to adequately train store
 9   personnel, has made misleading statements specified herein to all Class members and
10   has refrained from adequately disclosing to all Class members that Walmart has
11   changed its return policy. In addition, Walmart has been unjustly enriched at the
12   direct expense of the members of the Class as a result of the unlawful, unfair and
13   fraudulent conduct that Plaintiff alleges. As a result, final injunctive relief or
14   corresponding declaratory relief is appropriate with respect to the Class as a whole.
15                                 FIRST CAUSE OF ACTION
16                          (For Violation of Civ. Code § 1750, et seq.
17                             The Consumers Legal Remedies Act)
18           106. Plaintiffs hereby incorporate by reference the allegations contained in
19   each and all of the other paragraphs of this Complaint as if fully set forth herein.
20           107. This cause of action is brought pursuant to the California Consumer
21   Legal Remedies Act, California Civil Code §§1750, et seq., (the “Act”).
22           108. The policies, acts, and practices heretofore described violated the Act in
23   at least the following respects:
24                     a. In violation of §1770(a)(5) of the Act, Defendant’s acts and
25   practices represent that the goods have characteristics and benefits which they do not
26   have;
27
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 1                     b. In violation of §1770(a)(9) of the Act, Defendant’s acts and
 2   practices have the effect of advertising goods with the intent of not selling them as
 3   advertised; and
 4                     c. In violation of §1770(a)(14) of the Act, Defendant’s acts and
 5   practices use deceptive representations.
 6                     d. In violation of §1770(a)(16) of the Act, Defendant’s acts and
 7   practices use deceptive representations.
 8                     e. In violation of §1770(a)(18) of the Act, Defendant’s acts and
 9   practice misrepresent the authority of a salesperson, representative, or agent to
10   negotiate the final terms of a transaction with a consumer;
11                     f. In violation of §1770(a)(19) of the Act, Defendant’s acts and
12   practices insert an unconscionable provision in the contract.
13         109. Pursuant to §1780(a)(2) of the Act, Plaintiffs seek an order enjoining the
14   above-described wrongful acts and practices of Defendant, including, but not limited
15   to, an order both enjoining Defendant from continuing to implement the “COVID 19”
16   return policy without proper disclosure.
17         110. In compliance with the provisions of California Civil Code §1782,
18   Plaintiff Hubmer provided written notice on June 8, 2020; all three named Plaintiffs
19   provided a second notice on September 4, 2020, notifying Defendant of their intent to
20   file an action for monetary damages under California Civil Code § 1750 et seq. unless
21   Defendant correct, repair, replace, or otherwise rectify the consumer fraud resulting
22   from their conduct.
23         111. Should Defendant fail to respond to Plaintiffs’ second demand within 30
24   days after receipt of the Civil Code §1782 notice, to adequately respond to Plaintiffs’
25   demand to “correct, repair, replace, or otherwise rectify” the misrepresentations
26   described above, Plaintiffs will seek relief in the form of a claim for actual damages,
27   punitive damages as permitted by § 1780(a)(4) of the CLRA, attorneys’ fees and costs
28   and/or restitution.

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 1            112. In addition, Plaintiffs seek, pursuant to California Civil Code
 2   §1780(a)(2), an order enjoining the above-described wrongful acts and practices of
 3   Defendant, plus costs and attorneys’ fees, and any other appropriate relief under Civil
 4   Code §1780.
 5            113. By reason of the Defendant’s unlawful conduct in violation of the Act,
 6   Plaintiff and the Class have suffered losses in amounts to be determined at the time of
 7   trial.
 8                                SECOND CAUSE OF ACTION
 9                   (Fraudulent & Unfair Business Practices in Violation of
10                       California Business & Professions Code §17200)
11            114. Plaintiffs, on behalf of themselves and all others similarly situated,
12   hereby incorporate by reference the allegations contained in each and every paragraph
13   of this Complaint as if fully set forth herein.
14            115. California Business & Professions Code §17200 prohibits acts of unfair
15   competition, which includes any “unfair or fraudulent business act or practice.”
16            116. As detailed in this Complaint, the misrepresentations and non-disclosure
17   of material facts by Defendant constitutes unfair and fraudulent business acts or
18   practices within the meaning of Business & Professions Code §17200 because,
19   Defendant, inter alia:
20                     a. provided consumers with deceptive information concerning their
21   purchases; and
22                     b. engaged in the foregoing acts in order to obtain windfall profits at
23   the expense of Plaintiffs and other consumers.
24            117. The harm to Plaintiffs, the Class and the general public arising from
25   Defendant’s deceptive and unlawful practices outweigh the utility, if any, of those
26   practices.
27
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 1         118. The conduct described herein is ongoing, continues to this date and
 2   constitutes unfair and fraudulent business acts and practices within the meaning of
 3   Business & Professions Code §17200.
 4                                THIRD CAUSE OF ACTION
 5                         (Unlawful Business Practices in Violation
 6                            of Bus. & Prof. Code §17200, et seq.)
 7      (Predicated On California Civil Code §§1572, 1709, 1723 & 1710; Fraud &
 8                                             Deceit)
 9         119. Plaintiffs, on behalf of themselves and all others similarly situated,
10   hereby incorporate by reference the allegations contained in each and every paragraph
11   of this Complaint as if fully set forth herein.
12         120. California Business & Professions Code §17200 provides that unfair
13   competition shall mean and include any “unlawful...business act or practice...”
14         121. Defendant’s misrepresentations made through systematic denial of
15   consumer returns, as alleged above, was misleading and likely to mislead because it
16   failed to disclose that Defendant had no right to refuse returns and/or surreptitiously
17   change its return policy without proper disclosure to California consumers.
18         122. Defendant’s representations and omissions were made with knowledge or
19   reckless disregard of the laws of California prohibiting false and misleading
20   statements and advertising, as well as the reasonable expectations of public
21   consumers. These representations were made with intent to defraud members of the
22   general public described herein.
23         123. Members of the general public were unaware of the falsity of
24   Defendant’s fraudulent misrepresentation of said material facts, and purchased the
25   products reasonably relying upon the representations of Defendant.
26         124. Defendant’s acts and omissions constitute fraud and deceit in violation of
27   California Civil Code §§1572, 1709, and 1710. Defendant thereby violated Business
28   & Professions Code §17200, which prohibits unlawful acts and practices.

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 1         125. In addition, Defendant’s acts violate Civil Code §1723
 2                               FOURTH CAUSE OF ACTION
 3                                     (Breach of Contract)
 4         126. Plaintiffs, on behalf of themselves and all others similarly situated,
 5   hereby incorporates by reference the allegations contained in each and every
 6   paragraph of this Complaint as if fully set forth herein.
 7         127. Plaintiffs and members of the Class entered into contracts with Defendant
 8   at the time of sale. Incorporated in such contract was Defendant’s longstanding return
 9   policy.
10         128. Plaintiffs and Class Members entered into express and implied in fact
11   contracts with Defendant.
12         129. Plaintiff and Class Members fully performed their obligations under the
13   contract, by remitting to Defendant the full amount of the purpose price and also
14   complying with any terms regarding the return of the items.
15         130. The contracting terms were final and conclusive as of the time of sale.
16         131. Plaintiffs and the Class satisfied their obligations under their contracts.
17         132. However, Defendant failed to perform as required under the contracts and
18   breached those contracts by failing to allow Plaintiffs and Class Members to make
19   returns and obtain a refund.
20         133. As a result of the foregoing, Plaintiffs and Class Members are entitled to
21   damages in an amount to be proven at trial.
22                                  FIFTH CAUSE OF ACTION
23                               (Violation of Civil Code §1723)
24         134. Plaintiffs, on behalf of themselves and all others similarly situated,
25   hereby incorporate by reference the allegations contained in each and every paragraph
26   of this Complaint as if fully set forth herein.
27         135. California Civil Code § 1723 (a) provides, as follows:
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 1         Every retail seller which sells goods to the public in this state that has a policy
 2         as to any of those goods of not giving full cash or credit refunds, or of not
           allowing equal exchanges, or any combination thereof, for at least seven days
 3
           following purchase of the goods if they are returned and proof of their purchase
 4         is presented, shall conspicuously display that policy either on signs posted at
 5         each cash register and sales counter, at each public entrance, on tags attached to
 6         each item sold under that policy, or on the retail seller’s order forms, if any.
           This display shall state the store’s policy, including, but not limited to, whether
 7
           cash refund, store credit, or exchanges will be given for the full amount of the
 8         purchase price; the applicable time period; the types of merchandise which are
 9         covered by the policy; and any other conditions which govern the refund, credit,
           or exchange of merchandise.
10
11
           136. All three Plaintiffs entered one of Defendant’s stores located in
12
     California and did not observe any return policy at all and especially any new
13
     “COVID” return policy displayed conspicuously at the public entrance.
14
           137. Likewise, not one Plaintiff observed any tags on any of the items she
15
     purchased which displayed a return policy or a new “COVID return policy.”
16
           138. Further not one Plaintiff noticed a sign indicating a change in return
17
     policy or any policy at all for that matter posted at each cash register and especially
18
     the cash register which she purchased her items. That is because no signage existed at
19
     the stores.
20
           139. Nevertheless, Defendant failed to accept the return and refused to provide
21
     Plaintiffs with a cash refund, store credit, or an equal exchange for the full price of the
22
     purchase of her goods.
23
           140. Instead, Defendant’s store personnel stated they were not accepting
24
     returns on merchandise.
25
           141. As a result of Defendant’s violation of Civil Code § 1723 (a) Plaintiffs
26
     and Class members are entitled to damages in the full amount of the purchase prices
27
     of the goods that they purchased and attempted to return.
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 1          142. Pursuant to Civil Code § 1723 (c)(2) Plaintiffs and all Class Members are
 2   also entitled to remedies specified in the CLRA. As such Plaintiffs will seek an
 3   injunction to asking the Court to enjoin Defendant from continuing to implement its
 4   undisclosed “COVID 19” return policy. Unless Defendant is enjoined from its
 5   misconduct, consumers will be irreparably damaged from Defendant’s unjustified and
 6   illegal denial of returns.
 7                                SIXTH CAUSE OF ACTION
 8                                 Negligent Misrepresentation
 9          143.   Plaintiffs, on behalf of themselves and all others similarly situated,
10   hereby incorporate by reference the allegations contained in each and every paragraph
11   of this Complaint as if fully set forth herein..
12          144. The representations and omissions made by Walmart were not true.
13          145. Regardless of its actual belief, Walmart made the representations and
14   omissions without any reasonable grounds for believing them to be true.
15          146.   Walmart failed to exercise due care in ascertaining the accuracy of the
16   representations and omissions made to Plaintiffs.
17          147. Walmart made the representations and omissions for the purpose of
18   inducing Plaintiffs to rely upon them, and to act or refrain from acting in reliance
19   thereon.
20          148. Plaintiffs were unaware of the falsity of the representations and
21   omissions and acted in reliance upon the truth of those representations and omissions
22   and were justified in relying upon those representations and omissions.
23          149.   As a direct and proximate result of Walmart’s negligent
24   misrepresentations and omission of material facts, Plaintiffs suffered damages,
25   including actual consequential and incidental damages according to proof of trial.
26          150.   Plaintiffs hereby allege negligent misrepresentation in the inducement to
27   enter into the sales transaction, and therefore, are entitled to rescission and restitution
28   in an amount according to proof at trial.

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 1                                      PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiffs request relief as follows:
 3          A.        An order certifying the Class, appointing Plaintiffs as representatives of
 4   the Class, and appointing LegalGP, Mitch Kalcheim, as counsel for the Class;
 5          B.        Compensatory damages sustained by Plaintiffss and the Class as a result
 6   of Defendant’s breach of contract;
 7          C.        Compensatory damages and/or restitution of all funds acquired by
 8   Defendant from Plaintiff and the Class, as a result of Defendant’s unlawful, unfair,
 9   fraudulent and deceptive practices;
10          D.        Declaratory, injunctive and/or other equitable relief as may be
11   appropriate to stop Defendant’s practices, as described above, which are in violation
12   of certain statutory and common laws in the State of California.
13          E.        For punitive damages according to proof;
14          F.        For payment of costs of suit herein;
15          G.        Prejudgment and post-judgment interest at the prevailing legal rate;
16          H.        Attorneys’ fees and costs of this suit; and
17          I.        Such other and further relief as the Court may deem proper.
18                                          JURY DEMAND
19          Plaintiff, on behalf of herself and all others similarly situated, hereby demands
20   trial by jury.
21

22
     DATED: September 4, 2020                                 LEGAL GP
23

24
                                                         _____________________________
25                                                       MITCH KALCHEIM
26                                                       Attorneys for Plaintiff

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 1                       DECLARATION OF KELLY SCHWALBACH
 2           I, KELLY SCHWALBACH, being duly sworn, hereby state as follows:
 J      1.    I am a named plaintiff the action entitled Hubmer v. Walmart, Inc..
 4      2.    I am a resident of California. During the class period I was subject to the
 5   conduct alleged in the complaint regarding Walmart's failure to properly disclose its
 6   return policy and resulting failure to accept returns.
 7      3.    I am informed   and believe that Defendant in this action conducts substantial

 8   business activity in Riverside County, including the conduct that is detailed in my
 9   complaint.
10      I declare the foregoing to be true and correct to the best of my knowledge, under
11   the penalty of perjury under the laws of the State of Californiathx the foregoing is

I2   true and correct.
13

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15                                                  KELLY SCHWALBACH
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     DECLARATION
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  1
            I, Mitch Kalcheim, am the ECF user whose identification and password are
  2
      being used to file the instant document. Pursuant to L.R. 5-4.3.4(a)(2)(i), I certify that
  3
      all other signatories listed on this document and on whose behalf the filings are
  4
      submitted, concur in the filings’ content and have authorized the filings.
  5
                                       /s/   Mitch Kalcheim
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      NOTICE OF AMENDMENT
